Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 1 of 42


                   UNITED STATES BANKRUPTCY COURT
                SOUTHERN DISTRICT OF TEXAS (HOUSTON)

                              .
IN RE:                        .         Case No. 23-90147
                              .         Chapter 11
MOUNTAIN EXPRESS OIL COMPANY, .
et al.,                       .         515 Rusk Street
                              .         Houston, TX 77002
                              .
                 Debtor.      .         Monday, March 20, 2023
                              .         12:00 p.m.
. . . . . . . . . . . . . . . .


  TRANSCRIPT OF DEBTORS' EMERGENCY MOTION FOR ENTRY OF INTERIM
  AND FINAL ORDERS (A) AUTHORIZING THE USE OF CASH COLLATERAL,
 (B) PROVIDING ADEQUATE PROTECTION, (C) MODIFYING THE AUTOMATIC
          STAY, AND (D) SCHEDULING A FINAL HEARING [7]
               BEFORE THE HONORABLE DAVID R. JONES
              UNITED STATES BANKRUPTCY COURT JUDGE

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Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 2 of 42
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Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 3 of 42
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     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 4 of 42
                                                                                  4

1          (Proceedings commence at 12:00 p.m.)

2                THE COURT:    All right.    Are we ready?

3                THE CLERK:    Yes, Judge.

4                THE COURT:    Good afternoon, everyone.        This is Judge

5    Jones.    The time is 12 noon.      Today is March the 20th, 2023.

6    This is the docket for Houston Texas.         We have on the noon

7    docket the jointly administered cases under the primary Case

8    Number 23-90147, Mountain Express Oil Company.

9                Folks, you will make your appearance electronically

10   this afternoon.     If this is new for you, it's a very quick trip

11   to my website, a couple of mouse clicks.          You can do that at

12   any time prior to the conclusion of the hearing.            If you speak,

13   the first time that you speak, if you would please state your

14   name and who you represent.       That really does help the court

15   reporters do what is a very difficult job these days.

16               Finally, we are recording using CourtSpeak this

17   afternoon.    I will have the audio of today's hearing up on the

18   docket, available for your download shortly after the

19   conclusion this afternoon.

20               If you are one of those folks who wants to try and

21   make sure that everything got caught up with the joint

22   administration and that it is all working, I will tell you that

23   we are not yet there.      I've obviously entered the order, but

24   it's not yet been implemented.         We are only about halfway

25   through, but that will get done this afternoon.



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 5 of 42
                                                                                  5

1                For those of you that came in late, I have activated

2    the hand raising feature.       If you know you're going to be

3    speaking -- and you can change your mind at any time -- five

4    star on your telephone, that will alert me, and I will get you

5    unmuted.    All right.

6                Who is taking the lead this afternoon for the

7    debtors?

8                MR. POMERANTZ:     Good afternoon, Your Honor.          Jeff

9    Pomerantz of Pachulski Stang Ziehl & Jones.           We are proposed

10   counsel for Mountain Express Oil and its related affiliates,

11   which commenced the cases on Saturday, March 18th.

12               THE COURT:    All right.    Thank you.     Good afternoon to

13   the entire team.      I see a number of familiar faces.

14               MR. POMERANTZ:     It's good to be in Your Honor's court

15   again.

16               THE COURT:    All right, Mr. --

17               MR. POMERANTZ:     May I proceed, Your Honor?

18               THE COURT:    Please.

19               MR. POMERANTZ:     Your Honor, before I introduce you to

20   the debtor, and my team who are in the virtual courtroom, I

21   wanted to express my deepest gratitude for the Court's

22   availability yesterday to set today's expedited hearing.               We

23   have been in negotiations with the bank group over the last

24   week to obtain a debtor in possession financing facility to

25   fund operations and the administration of these cases, and hope



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 6 of 42
                                                                                  6

1    to finalize those discussions over the weekend, and file a DIP

2    motion today.     To deliver the best message to the marketplace,

3    we wanted to come to the Court at the first day hearing with a

4    committed financing facility, rather than simply use cash

5    collateral.     I believe we could have waited until the first day

6    hearing that Your Honor originally scheduled for Wednesday.

7                When it appeared yesterday that it would take a

8    little more time to complete negotiations with the bank group,

9    we pivoted to a short-term use of cash collateral so that we

10   could have immediate access to funds today to make post-

11   petition fuel purchases, which along with employees, is the

12   lifeline of the debtor's businesses.

13               In the virtual courtroom today are Turjo Wadud and

14   Lamar Frady, the debtor's cofounders and co-CEOs; Dustin

15   Martin, the debtor's chief operating officer; Neil Lansing, the

16   debtor's general counsel; as well as Lawrence Perkins, a

17   managing director of SierraConstellation, one of the two

18   independent directors who were retained prepetition.             I expect

19   that the other director, Craig Barbarosh, a 30-year

20   restructuring lawyer with Katten, Munchin, and Pillsbury, will

21   join the hearing in progress.

22               THE COURT:    Okay.   Thank you.

23               MR. POMERANTZ:     Also in the courtroom -- you're

24   welcome.    Also in the Courtroom are Michael Healy of FTI

25   Consulting, the debtor's proposed chief restructuring officer,



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 7 of 42
                                                                                  7

1    who will be the witness for today's hearing; as well Geoffrey

2    Richards, a managing director of Raymond James, the debtor's

3    proposed investment banker.       And finally, Your Honor, from my

4    firm, my colleagues, Jeff Dulberg, Steven Golden, Max Litvak,

5    Ben Wallen, and Henry Kevane are also appearing, as well as

6    Mr. Litvak will be examining Mr. Healy at the appropriate time.

7                Your Honor, I do not intend today to go through the

8    comprehensive first day presentation that I planned to do when

9    we come back to the Court for a hearing on the full suite of

10   our first day motion.      We expect to file our first day motions

11   later today, along with a declaration of Michael Healy in

12   support thereof.

13               Rather, what I intended to do, Your Honor, today, was

14   to provide Your Honor with a brief description of the debtor's

15   business operations, the circumstances that led the debtor to

16   commence these Chapter 11 cases, and the relief being sought

17   pursuant to the emergency cash collateral motion we filed this

18   morning.    I would then turn the podium over to Mr. Litvak to

19   examine Mr. Healy and provide the Court with the evidentiary

20   support -- basis to support our emergency request.             May I

21   proceed in that manner, Your Honor?

22               THE COURT:    Absolutely.     And I do want to carve out

23   time between your, what I'll take as an opening statement, and

24   I do what to hear from any of the other parties that wanted to

25   just make general comments before we proceed with the



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 8 of 42
                                                                                  8

1    evidentiary presentation.

2                MR. POMERANTZ:     Very well, Your Honor.       The debtors

3    consist of 144 separate legal entities, and are a vertically

4    integrated market leader in the fuel supply business,

5    headquartered in Alpharetta, Georgia.         The debtors acquired the

6    real property underlying fueling centers, which consists of

7    convenience stores and travel centers, and sell them to third-

8    party investment vehicles, who lease them back to the debtors

9    under long term agreements.       The debtors supply fuel to

10   approximately 855 fueling centers throughout 27 different

11   states, and the debtors control the real estate underlying the

12   fueling centers in approximately 550 of those fueling centers

13   through master leases.

14               The debtor's largest landlord is Oak Street, which

15   owns 286, or over 50 percent of the underlying properties.               352

16   of the fueling centers controlled by the debtors are operated

17   by third-party dealers under sub-leases for the debtors.              And

18   the debtors themselves operate the remaining fueling centers,

19   although they are in the process of extricating themselves from

20   the majority of the retail business by finding additional

21   third-party operators.

22               Its fuel business is at the heart of its business

23   operation, and consists of supply agreements with major oil

24   producers, which allow the debtors to distribute fuel to both

25   to the controlled and third-party fueling centers.



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 9 of 42
                                                                                  9

1                The debtors are privately owned by Turjo Wadud and

2    Lamar Frady, who acquired the debtors in 2020.           And the

3    debtor's board consist of Mr. Wadud and Mr. Frady, and the two

4    independent directors who were appointed prepetition that I

5    mentioned, Mr. Perkins and Mr. Barbarosh.

6                As I mentioned, in addition to retaining our firm,

7    the debtors appointed Michael Healy, chief restructuring

8    officer, and is seeking to retain Raymond James as its

9    investment banker.

10               Mountain Express Oil is the ultimate parent of the

11   debtor, and is the borrower under a secured term loan and a

12   revolving credit facility with a group of banks agented by

13   First Horizon Bank.      Under the prepetition loan documents,

14   Mountain Express Oil owes the bank group approximately $175

15   million as of the petition date, exclusive of accrued interest,

16   fees, and costs.      And certain of Mountain Express's direct

17   subsidiaries are guarantors under the lending facility.              The

18   debtors are not in payment default to the bank group, but the

19   bank group asserted certain nonmonetary defaults in December of

20   2022.

21               The debtors owe approximately $26 million to general

22   unsecured creditors, over 90 percent of whom are claims by

23   parties who provide fuel to the debtors pursuant to supply

24   agreements, and which will become due during the first 21 days

25   of the case, and which will be subject of a critical vendor



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 10 of 42
                                                                                  10

1     motion that will be heard at the time of our full suite of

2     first day motions.

3                 THE COURT:    So, Mr. --

4                 MR. POMERANTZ:    As I mentioned --

5                 THE COURT:    Mr. Pomerantz --

6                 MR. POMERANTZ:    Yes.

7                 THE COURT:    -- my apologies for interrupting.         So the

8     $6 million is for new fuel purchases, not to pay anything that

9     had previously been ordered and delivered.          Is that correct?

10                MR. POMERANTZ:    That is totally correct, Your Honor.

11                THE COURT:    Okay.

12                MR. POMERANTZ:    The six million in the budget is

13    post-petition fuel purchases.        We have been in contact with

14    many of the fuel suppliers who are, you know, fortunately or

15    unfortunately, knowledgeable about the bankruptcy world, and

16    they have indicated that they intend to shut off their

17    automatic debits for the prepetition.         They have asked, and I

18    will get to it when I present the order, for certain language

19    to be included in the order that we will hope will facilitate

20    the flow of fuel.     The debtor's 550 controlled sites, as I

21    mentioned, are leased from landlords with Oak Street

22    controlling 286 of those.

23                The first day declaration, which we'll file, of

24    Michael Healy, will go into great detail will go into great

25    detail regarding the deterioration of the debtor's relationship



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 11 of 42
                                                                                  11

1     with Oak Street, which directly led to the debtor needing to

2     seek relief by commencing these cases.         The debtor's

3     relationship with Oak Street will be a significant focus in

4     these Chapter 11 cases, and I will plan to make my full

5     presentation to the Court when we reconvene for our complete

6     first day hearings.      However for now, I will briefly highlight

7     a few key facts.

8                 Commencing in 2021, Oak Street began to fund the

9     debtor's acquisition of 286 properties for an aggregate

10    purchase price of an excess of $825 million through 60 separate

11    sale-leaseback transactions.       An Oak Street designee sat on the

12    debtor's board of directors until January, 2023.           In connection

13    with the sale-leaseback, and at the time of the acquisition of

14    the properties, the parties entered into 44 separate side

15    letters with respect to environmental assessments and

16    remediation, code compliance, and related matters needed by the

17    debtors post-closing; additional things that you would expect

18    when you acquire an oil (indiscernible) a convenience store.

19    Things changed, Your Honor, between the debtor and Oak in 2023.

20                THE COURT:    Mr. Pomerantz --

21                MR. POMERANTZ:    The debtor and Oak Street -- yes.

22                THE COURT:    My apologies, I'm picking up some noise.

23    Is it possible, so I -- you do have a headset on.           So, Mr.

24    Pomerantz, the -- I think that was your number, the 310 number.

25    Did it just tell you that I had muted you?          I just wanted to



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 12 of 42
                                                                                     12

1     see if that would take away the noise.            It you'd hit five star

2     again, because we can't hear you.         Got it.     So the noise, Mr.

3     Pomerantz, is coming from your phone.            Is there any way perhaps

4     you could switch ear pieces, maybe --

5                 MR. POMERANTZ:    Let me put it on speaker and see if

6     that's better, Your Honor?

7                 THE COURT:    All right.     Sure.

8                 MR. POMERANTZ:    Your Honor, is this better?

9                 THE COURT:    It is, it took away the noise.

10                MR. POMERANTZ:    Okay.     I apologize.

11                THE COURT:    No, no, no.

12                MR. POMERANTZ:    (Indiscernible).

13                THE COURT:    Maybe batteries just getting old or

14    something, but it's just fine.

15                MR. POMERANTZ:    Your Honor, things started to change

16    between the debtor and Oak Street in 2023.            The debtors and Oak

17    Street entered into amendments to their master lease agreements

18    to facilitate Oak Street's advancement of $10 million over the

19    debtor's January and February rent obligations to Oak Street

20    under their master leases.

21                Soon thereafter, Oak Street started to demand that

22    the debtor relinquish properties from the master leases to

23    allow Oak Street to sell them, or re-tenant them to third

24    parties who would not sign on to the debtor's fuel supply

25    agreement.    When the debtors refused to do so because the loss



         ACCESS TRANSCRIPTS, LLC                       1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 13 of 42
                                                                                  13

1     of the fuel supply agreement, which caused them to breach their

2     minimum purchase obligations to their fuel suppliers, and

3     decimate the value of the debtor's business and threatened

4     their existence, Oak Street became hostile.

5                 Oak Street sent the debtors three notices of default

6     in February 17th of 2023, each raising only nonmonetary

7     defaults, principally relating to the alleged failure to

8     complete the post-closing work at the acquired locations.

9     Prior to the notice in the default, Oak Street never complained

10    to the debtors regarding the pace at which the post-closing

11    work was being completed.       And in fact the debtors have been

12    diligently completing the work, the vast majority of which is

13    pending governmental and regulatory approval.          Oak Street

14    surely knew this, as its representative sat on the debtor's

15    board of directors.      Nor did Oak Street raise concerns about

16    the post-closing work, when it amended and restated the master

17    leases in January 2023.      In connection with the assumption and

18    or assignment of the Oak Street leases during the course of

19    these cases, we will demonstrate to the Court that the debtors

20    have, and can satisfy any remaining cure obligation.

21                The debtors retained restructuring advisors

22    immediately, and tried to negotiate a forbearance with Oak

23    Street to avoid a Chapter 11 filing, which as you heard, we

24    don't have a lot of trade debt.        It wasn't a judgment that

25    forced us in.     And while we are in nonmonetary default from the



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 14 of 42
                                                                                  14

1     bank, they weren't forcing us in.

2                 We immediately approached Oak Street to obtain a 30-

3     day forbearance to allow the debtors newly-minted professionals

4     to get their footing in the case, and to sit down and discuss

5     with Oak Tree an overall restructuring to demonstrate how the

6     debtors have substantially completed their environmental work,

7     and how their transition away from owned convenience store

8     operations was going to make the company financially stronger.

9     In response, Oak Street first demanded that the debtor

10    relinquish approximately 150 properties, more than 50 percent

11    of the entire portfolio, in exchange for a mere 30-day

12    forbearance.    The debtors told Oak Street that would decimate

13    their business, result in significant loss of employment for

14    employees throughout the country, and was not acceptable.

15                Oak Street did not provide the debtors with a draft

16    forbearance agreement until March 15th, only a couple of days

17    before the expiration of the cure period.         In the forbearance

18    agreement, Oak Street demanded release of 75 properties,

19    payment of $8.5 million, and access to all of the debtor's

20    creditors and lenders for a mere 30-day continuance.            Acceding

21    to Oak Street's demands, which was clearly a power play, trying

22    to exploit nonmonetary defaults that had existed for months,

23    and were either completed, or awaiting governmental approvals,

24    or in the process of being completed, would have been value

25    destructive, and a breach of the debtor's fiduciary duty to its



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 15 of 42
                                                                                  15

1     stakeholders.     Left with no choice, the debtors filed Chapter

2     11 on March 18th.

3                 Now that the debtors are in Chapter 11, they will use

4     the process to pursue a restructuring path that maximizes value

5     for all stakeholders.      As I mentioned, Your Honor, the debtors

6     hope to enter Chapter 11 with a committed DIP financing

7     facility from the First Horizon-led bank group, which would

8     provide sufficient liquidity to sustain operations throughout

9     the restructuring process, and funding for the administration

10    of the estate.     The debtors and First Horizon have engaged in

11    significant negotiations over the last several days, and are

12    hopeful that an agreement can be reached soon.

13                And as I mentioned, when we initially scheduled the

14    first-day hearing on these cases for Wednesday, we wanted to

15    provide the parties with sufficient time to complete the

16    negotiations, document the DIP facility, and seek Court

17    approval so that we could deliver the one message to the

18    marketplace, that committed financing was possible.            That would

19    have been the best way to launch these Chapter 11 cases.

20                Unfortunately, unable to complete the negotiations

21    over the weekend, the debtor felt it was critical to obtain the

22    authority to use cash collateral for the limited purpose of

23    being able to purchase fuel, without which they could not

24    preserve operations while the DIP negotiations continued.

25    Without use of cash collateral on an emergency basis, the



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 16 of 42
                                                                                  16

1     debtor will suffer irreparable harm, and their businesses will

2     be adversely and permanently affected.         The bank group is the

3     only party whom the debtors believe have an interest in cash

4     generated from its business operations.

5                 Accordingly, Your Honor, this morning we filed a

6     motion for use of cash collateral on a nonconsensual basis,

7     which appears at Docket Number 7.        The motion seeks use of cash

8     collateral, pursuant to Section 363 of the Bankruptcy Code, for

9     one week to avoid irreparable harm that will result if the

10    debtors do not have cash to fund operations.          The motion

11    attaches a one-week budget, which contains the minimum cash

12    required until longer-term financing can be hopefully put in

13    place; and principally consists of funds to purchase fuel post-

14    petition.    One of the debtor's three cyclical payrolls will

15    occur Friday, but the debtors prefunded such payments

16    prepetition.    Our first day motions will of course include the

17    standard prepetition payroll motion so that employees can and

18    will be protected throughout these Chapter 11 cases.

19                This morning we exchanged drafts of the proposed

20    order with the bank group, and as a result, we have filed a

21    revised version in which we accepted many of the changes that

22    were requested by the bank group, but not all of them.              As of

23    the time of this hearing, the bank group has not indicated to

24    us whether the proposed order is acceptable or not.

25                In addition, as I alluded to before, since the filing



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 17 of 42
                                                                                  17

1     we have had numerous discussions with oil suppliers who have

2     requested certain information -- certain language in the order,

3     specifically naming them as the -- as a recipient of this post-

4     petition use of cash collateral, and providing that it would be

5     payable to them for post-petition fuel purchases.           That is in

6     Paragraph 10 of the revised order.         And the red line and the

7     new order can be found at Docket Number 21.

8                 Your Honor, we believe, and we believe the evidence

9     will show that the bank group is adequately protected in the

10    use of its cash collateral, because without which -- without

11    the use, the debtors will not be able to continue operating as

12    going concern, and the value of the bank group's collateral,

13    which permit -- primarily consist of fuel supply agreements,

14    will evaporate.     Moreover, the bank group's working capital

15    will not decrease during the course of the next week, as the

16    vast majority of funds will be used to purchase new inventory,

17    which the debtors will be able to turn over for a profit.

18                That concludes my initial presentation, Your Honor.

19    I'm happy to answer any questions you may have.

20                THE COURT:    Oh, thank you.     I think I got it.      I

21    appreciate the thoroughness of the presentation.

22                Let me ask, do we have counsel on the line for First

23    Horizon -- for the First Horizon group?

24                MS. HEYEN:    Yes, Your Honor.     Good afternoon.      This

25    is Shari Heyen and John Elrod of Greenberg Traurig for First



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 18 of 42
                                                                                  18

1     Horizon.

2                  THE COURT:   Sure thing, thank you.      Ms. Heyen -- and

3     again, not trying to upset the status of ongoing

4     negotiations -- do you think we're moving in a positive

5     direction?

6                  MS. HEYEN:   I think so.     Mr. Elrod may want to

7     comment that.     He's sitting in our Atlanta, Georgia Office.

8                  THE COURT:   My apologies.     Mr. Elrod, good afternoon.

9                  MR. ELROD:   Good afternoon, Your Honor.       It's a

10    pleasure to appear in front of you today.

11                 Your Honor, we have made some progress in

12    negotiating, as Mr. Pomerantz indicated in his presentation.

13    The parties have exchanged drafts of the cash collateral order.

14    Moreover, the parties continue to discuss a DIP financing

15    facility which would fund the debtor's cash needs during these

16    Chapter 11 cases.

17                 With that being said, Your Honor, again, as Mr.

18    Pomerantz indicated, the drafts of the proposed order have been

19    going back and forth pretty rapidly this morning and early this

20    afternoon.     We would indicate -- we believe -- we do -- we will

21    reach a deal on the use of cash collateral for the one-week

22    period, and would anticipate following up with the DIP

23    financing proposal to the company in the very near future.              I

24    would ask, however, the Court's indulgence as we review the

25    terms of the revised proposed order and get our consent to the



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 19 of 42
                                                                                  19

1     Court as quickly as possible so that we can have the order

2     entered and the debtor can use cash.

3                 THE COURT:    So let me ask you this:      How long do you

4     think that will take?      And I -- I'm not trying to hold you to

5     it --

6                 MR. ELROD:    Less than --

7                 THE COURT:    -- just trying to be realistic.

8                 MR. ELROD:    Less than 30 minutes, Your Honor.

9                 THE COURT:    Less than 30 minutes.

10                MR. ELROD:    For the review of the proposed order.

11                THE COURT:    So I have got a fairly packed afternoon,

12    but this is important.       Obviously, I want to make sure that we

13    have a path to explore whether or not, you know, we're going to

14    go forward on a consensual basis or preserve the fight for

15    later.

16                And I was going to suggest if we were making

17    progress, I -- if you had no objections, I was intending to,

18    again, subject to your comments, to try and put you in a

19    position where you didn't have to be defensive about anything.

20    And that if we were really looking at a seven-day cash

21    collateral usage with the budget that at least that I -- the

22    budget that was attached -- and I haven't heard anybody tell me

23    that that budget was going to change materially -- is that we -

24    - I give you a hearing date for next Monday, and then we either

25    really tee it up or not.      But if you want to have that



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 20 of 42
                                                                                  20

1     substantive hearing today, I'm obviously willing to do that.                I

2     was just trying to give you as easy a path as possible.

3                 MR. ELROD:    Your Honor, I think the hearing on Monday

4     would be sufficient for the agent's purposes.

5                 THE COURT:    And --

6                 MR. ELROD:    In the interim we will obviously review

7     the proposed order as circulated and filed on the docket by the

8     company.

9                 THE COURT:    And so are you -- and I want to make sure

10    we're on the same page.      So that was really to avoid -- because

11    Mr. Pomerantz is going to put on a presentation that is -- that

12    you're probably going to have to respond to.          Just -- that's a

13    guess.     And that's what I was trying to avoid.

14                I'm -- if you're telling me that you're consenting to

15    use of cash collateral pursuant to that budget, then that order

16    gets really simple.      If you're telling me that you want a

17    little bit of time to look at the latest draft of the order and

18    then come back this afternoon, I've got to figure out how to

19    slot you in, but we will absolutely do that.

20                MR. ELROD:    It's the latter, Your Honor, we do want a

21    chance to review the terms of the proposed order prior to the

22    debtor's use of the cash collateral.         Again, it would not take

23    much time, but we would ask for the Court's indulgence in that

24    regard.    And I understand the Court has hearings this

25    afternoon, and I appreciate the Court's time on it.



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 21 of 42
                                                                                   21

1                 THE COURT:    Let me ask you this.      It's 12:24, if we

2     came back -- it's 12:25 my time.        If we came back at 12:50 my

3     time, do you think that would be enough time?

4                 MR. ELROD:    I do, Your Honor.

5                 THE COURT:    Then, Mr. Pomerantz, would you have any

6     objection to temporarily adjourning to 12:50?           That's 15

7     minutes from now.     Actually, my fault --

8                 MR. POMERANTZ:    No, Your Honor.

9                 THE COURT:    Said that wrong, that's 25 minutes from

10    now.     And I thought I was a math guy.       Then let me do this

11    before we take a quick adjournment -- and again, everyone is

12    going to have an opportunity to weigh in to the extent that

13    they wish.

14                Anyone else want to make opening comments?           All

15    right.     Then what we'll do --

16                MR. EISENBERG:       Your Honor?

17                THE COURT:    Yes?

18                MR. EISENBERG:       Your Honor?

19                THE COURT:    Yes, Mr. Eisenberg?

20                MR. EISENBERG:    Philip Eisenberg on behalf of BFM

21    Operations LLC and various subsidiaries and affiliates.                We

22    will have comments on the language in the cash collateral

23    order.

24                THE COURT:    Okay.

25                MR. EISENBERG:    And so we also want that opportunity



         ACCESS TRANSCRIPTS, LLC                     1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 22 of 42
                                                                                  22

1     to review and also discuss it with these folks.           But there are

2     provisions in there that we think are inappropriate for the

3     type of relief that they're looking for for this week.

4                 THE COURT:    All right.    So you've seen it, you're

5     plugged into the circulation process?

6                 MR. EISENBERG:    Well, I have not pulled up the latest

7     one at Docket Number 21 because it hadn't appeared before I got

8     online, Your Honor, but we'll look at that --

9                 THE COURT:    All right.

10                MR. EISENBERG:    -- in the next 20 minutes.        But our

11    client has various dealings with the debtors, and this is a

12    little bit of a surprise for them.        We're still trying to sort

13    things out.    We're not sure that every dollar that's coming in

14    is their dollars, and maybe some of our dollars, and that's one

15    of the issues you'll hear about.        Mr. Peeble (phonetic) is on

16    the line, he's got the background.        But we do need to be heard

17    on that so that we can at least start the dialog there.

18                I think this order can be put in place with the

19    proper reservations, Your Honor, and so we want to be a -- we

20    want to keep the business going for the next week and -- but

21    they're buying gas with it.       The gas is going to increase in

22    value.   I don't see the estate diminishing by staying as going

23    concern and by buying product that's going to sell at a profit.

24    But that's what the -- our questions are is the scope of the

25    replacement lease that they're trying to get here, Your Honor.



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 23 of 42
                                                                                  23

1     And if there is anything that they're trying to get a

2     replacement security on, it can only be property of the estate.

3     They're not gaining anything by getting this, and we just need

4     to make sure that the words (indiscernible).

5                 THE COURT:    No, and I don't think anybody disputes

6     any of the basic bankruptcy principles that you espoused.

7                 Let me -- Mr. Pomerantz, so you know you need to plug

8     Mr. Eisenberg into this discussion.

9                 Ms. Surinak, I saw you raise your hand.         Did you have

10    something you needed to address before we break?

11                MR. POMERANTZ:    Just one question, Mr. -- Judge, Your

12    Honor.   Mr. Eisenberg, who do you represent?         Because we have

13    not been in touch during this case, and I'd like to understand

14    who you represent.

15                MR. EISENBERG:    Right, my understanding, and we got

16    contact this morning, it's BFM Operations LLC.          They're the

17    folks that were doing business in Louisiana, and there's 36

18    stores that you have and 8 that we have.         And there's a

19    trucking business and Golden Gallons [sic], and there is credit

20    card receipts that I understood that were ours that were

21    received in a system that were not distributed back to my

22    client, and that's as far as I could get.

23                MR. POMERANTZ:    We are happy to work with you.         Just

24    to alleviate some of your concerns, one of our first day

25    motions we planned to file later today will deal with our



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 24 of 42
                                                                                  24

1     relationships with our dealers and the credit card receipts

2     issue for which we acknowledge the issue and concern.               But

3     we're happy to consider any language you have to reserve your

4     rights to a pending hearing on that motion, which we think

5     you'll find in your best interests -- your client's interests.

6                  MR. EISENBERG:   We appreciate that very much.          There

7     is one other small issue, Your Honor.         There is an injunction

8     that got issued out of a state court for information from the

9     accounting systems that they had because our clients have to

10    pay their taxes.     And the injunction ordered the debtors to

11    supply information that's our information.          And we need to kind

12    of make sure that we're not doing anything that makes the

13    debtors or the Court uncomfortable at this point.

14                 THE COURT:   So, Mr. Eisenberg, I'm going to let you

15    have that conversation with Mr. Pomerantz, perhaps later on

16    today.    It think issue number one is making sure that we have

17    operations intact, and then we can start to deal with some of

18    those issues.

19                 But as you well know -- and I'll say this to

20    everybody:     I know this came in, using the colloquial, this

21    came in hot, I got that.      I'm prepared to allocate whatever

22    time and resources that we need to over the next couple weeks

23    to make sure we get -- or to get as stabilized as we possibly

24    can.     So if you need time, just work that out with Mr. Alonzo.

25                 MR. EISENBERG:   Thank you, Your Honor.



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 25 of 42
                                                                                  25

1                 THE COURT:     Let me go back to Ms. Surinak, if I'm

2     pronouncing that right.        I think your hand was raised.

3                 MS. SURINAK:     Yes, thank you, Your Honor.       Can you

4     hear me okay?

5                 THE COURT:     Loud and clear, thank you.

6                 MS. SURINAK:     Thank you.   Ashley Surinak of Kirkland

7     & Ellis LP on behalf of Oak Street Real Estate Capital.             We

8     just wanted to make a few brief remarks, if Your Honor has time

9     before (indiscernible)

10                THE COURT:     Let's do this:    I know what you're going

11    to say, and we will absolutely have that conversation at some

12    point in time.     I obviously realize that you are an important

13    constituent.     I didn't think -- I didn't take anything that

14    Mr. Pomerantz said as indicative of your client's character or

15    anything else.     Those things will be the subject of future

16    hearings.    No need to -- we will note that you disagree with

17    everything negative that was said about your client, and let's

18    see if we can focus on trying to make sure we can use cash.

19    And then when that comes up, I promise you I'll give you all

20    the time in the world.       Can I ask you to do that?

21                MS. SURINAK:     Understood, Your Honor.      And of course,

22    thank you.

23                THE COURT:     All right.   Thank you.    Then let's do

24    this:   back at 12:50 my time.      And again, if we have to skip

25    throughout the afternoon, you know, I -- we will.           I'll --



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 26 of 42
                                                                                  26

1     we're not going to leave today until we get this issue

2     resolved.    But you may have to do some popping in and popping

3     out while I have other things, all right?

4                 MR. POMERANTZ:    Thank you, Your Honor.

5                 MR. EISENBERG:    Thank you, Your Honor.

6                 THE COURT:    See everybody back in 20 minutes.

7           (Recess taken at 12:31 p.m.)

8           (Proceedings resumed at 12:50 p.m.)

9                 THE COURT:    (Audio starts mid-sentence) the record in

10    the jointly-administered cases under Case Number 23-90147,

11    Mountain Express Oil Company.

12                Let me -- Mr. Pomerantz, let me just start with you.

13    Did we have enough time?

14                MR. POMERANTZ:    So Your Honor, first of all, I don't

15    see Mr. Elrod on the screen, so --

16                THE COURT:    I didn't either.

17                MR. POMERANTZ:    -- maybe we need to wait a moment.

18                THE COURT:    All right.    I didn't know if you were

19    coming back on to make an announcement, or --

20                MR. POMERANTZ:    Well, we have communicated, and

21    there's still one sticky (indiscernible) I'd like to let the

22    Court know of.

23                THE COURT:    Okay.

24                MR. POMERANTZ:    And we can (indiscernible).

25                THE COURT:    Ah, there he is.     Mr. Elrod, are you back



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 27 of 42
                                                                                  27

1     on?   You'll need to hit five star again if you are dialing back

2     in.   Actually, I don't see an Atlanta number.         Mr. Elrod, when

3     you are connected back up, you'll need to hit five star again

4     so I can hear you.

5                 Mr. Elrod, can you hear me?       So I can't hear you.          I

6     need for you to hit five star again because you got off the

7     line and then back on.       There you are.

8                 MR. ELROD:    Thank you, Your Honor, for the reminder.

9                 THE COURT:    Oh, quite all right.      So I just was

10    checking in to see if we'd had enough time.          What do we need to

11    do to be efficient?

12                MR. ELROD:    Thank you, Your Honor, we --

13                UNIDENTIFIED:    (Indiscernible) --

14                MR. POMERANTZ:    Your Honor, if I may?

15                THE COURT:    Certainly.

16                MR. POMERANTZ:    Thank you, Your Honor.       So in the

17    interim Mr. Elrod sent to me two requested changes to the

18    proposed form of order.       One I think is okay with some

19    explanation to make sure we're all on the same page.            And that

20    request was a change to Paragraph 3 regarding the potential for

21    other parties to have a challenge right with respect to the

22    stipulation that the debtors are agreeing to in connection with

23    this motion.    The language he has requested was subject to

24    appropriate challenge provisions for parties in interest other

25    than the debtors.     Of course, nobody knows what appropriate is.



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 28 of 42
                                                                                  28

1     Obviously, Your Honor will be the arbiter of that.            But

2     obviously it's the intent of the debtor, which I hope the Court

3     shares, that we are not going to be binding any other parties,

4     and the appropriate challenge provisions, if there is any

5     dispute, Your Honor will implement appropriate challenge

6     procedures so that other parties' rights are not waived.

7                 THE COURT:    So let me propose -- I think I can make

8     this easier on everyone.      So as I understand it, we were going

9     to do this for a week.       I have -- I've created a block of time

10    March the 27th at noon central time.         And if that works for

11    everyone, why don't we just write in that provision, you know,

12    subject to a challenge period to be established at the

13    continued hearing on March the 27th.         Would that work for

14    everybody?

15                MR. POMERANTZ:    That would work for the debtors.

16                THE COURT:    Mr. Elrod, would that work for you?          It

17    gives you time to sort of figure everything out.           And it also

18    gives --

19                MR. ELROD:    That's --

20                THE COURT:    Sorry.

21                MR. ELROD:    Yes, Your Honor.     So it's -- so I'm

22    clear, that's the 22nd?

23                THE COURT:    27th.    I thought you'd wanted a --

24                MR. ELROD:    27th.

25                THE COURT:    I thought you had wanted a week.



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 29 of 42
                                                                                  29

1                 MR. ELROD:    Your Honor, I -- we -- I think we're very

2     close to a form of an interim order on the interim use of cash.

3     So I don't know that we'd necessarily need that at this point,

4     provided that the debtor's team is on board with that language.

5                 THE COURT:    So different --

6                 MR. POMERANTZ:    Your Honor --

7                 THE COURT:    Different comment.     The 27th would be

8     your hearing for continued use of cash collateral; hopefully a

9     final, but maybe a further interim.         And if you made progress

10    over the week and you got a DIP done, you've got a time slot

11    already there.     I was trying to provide you maximum

12    flexibility.     Would that work with that added explanation?

13                MR. ELROD:    It will, Your Honor.      Thank you.

14                THE COURT:    Thank you.    And Mr. Ruff --

15                MR. POMERANTZ:    Your Honor?

16                THE COURT:    Yes, sir?

17                MR. POMERANTZ:    Your Honor, if I may?

18                THE COURT:    Sure.

19                MR. POMERANTZ:    Just to -- and I'd like to come back

20    to where we go from here in terms of dates, because I know

21    there have been a lot of dates swirling.         I will have some

22    comments at the end with respect to where we are on DIP

23    financing.     But we don't think we can wait for DIP financing --

24                THE COURT:    Okay.

25                MR. POMERANTZ:    -- until next Monday.       We are willing



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 30 of 42
                                                                                  30

1     to have a next Monday on continued use of cash collateral if in

2     fact we can use that hearing, and operations haven't been so

3     decimated before then.       So I would keep that as a placeholder,

4     but at the end, after we get through the cash collateral

5     issues, I would like to sort of address to the Court as in a

6     sense a status report on the DIP financing, and then make a

7     proposal.

8                 THE COURT:    Certainly.    I will also tell you, again,

9     because I would rather have -- I would rather have parties

10    negotiating without the influence of anything that I might

11    inadvertently say.       So you'll have March the 27th at noon for

12    your continued cash collateral hearing.         If it works for

13    something else, feel free to use the time.          I'll also commit to

14    everyone that if you need time earlier because you get a DIP

15    done, you just need to coordinate with that -- with Mr. Alonzo,

16    and I will make the time.

17                MR. POMERANTZ:     Thank you, Your Honor.

18                MR. ELROD:    Thanks, Your Honor.

19                THE COURT:    All right.    And Mr. Ruff, I did --

20                MR. POMERANTZ:    Your Honor, I did --

21                THE COURT:    Sorry, let me go just one question.

22    Mr. Ruff, with respect to reserving the issue of the

23    appropriate challenge period, because I know that's important

24    to you, are you okay with just language that says we're going

25    to take -- we're all going to take a deep breath and figure out



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 31 of 42
                                                                                   31

1     what this ought to look like between now and next week?

2                  MR. RUFF:    I am, Your Honor.    I view this motion

3     really as a stopgap just to get the debtor so it can operate.

4     And I think all parties are -- their rights are reserved, so

5     we're happy with that.

6                  THE COURT:    All right.   Thank you.    All right.

7     Mr. Pomerantz, issue two?

8                  MR. POMERANTZ:    Issue two, Your Honor, is an issue

9     that is always in cash collateral orders, very rarely I guess

10    gets actually disputed, but it's the variance, as Your Honor

11    knows, and we heard today, because we desperately need the cash

12    to fund the fuel purchases.       And while we have presented the

13    best budget we can -- Mr. Healy will provide that evidentiary

14    basis -- we are concerned that we have the flexibility, if in

15    fact the receipts don't materialize, given the fragile nature o

16    the debtor's business.

17                 So we have asked for a 15 percent variance.            In the

18    scheme of things, given the size of this company, given the

19    limited use of cash collateral, and given the disastrous

20    results that would occur if we exceeded that, we think that is

21    more than fair.     And the lenders have only agreed to a 10

22    percent.     But we are prepared to put on our case of Mr. Healy's

23    testimony.     Mr. Elrod can cross examine on why 15 percent is

24    necessary as opposed to 10 percent.

25                 THE COURT:    So let me -- gentlemen, let me ask this:



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 32 of 42
                                                                                  32

1     As I look at the budget, you've only got about $300,000, give

2     or take, of leeway anyway before you run out of cash.               Am I

3     reading the budget wrong?

4                 MR. POMERANTZ:    No, that's correct, Your Honor.

5                 THE COURT:    So let me tell you, and again, what I'm

6     trying to do -- and again, if anybody wants their hearing, I'm

7     going to give it to them.

8                 But given where we are, given what the company looks

9     like, given sort of your automatic variance stopgap -- I mean,

10    you can't spend money you don't have -- I'm inclined to again,

11    for seven days without this being precedential in any shape,

12    way, or form, is I would -- I am inclined to grant the 15

13    percent variance subject to the understanding that the debtor

14    does not finance the case on the back of vendors, it does not

15    spend money it doesn't have.       I don't want any -- I don't want

16    commitments made about anticipation.         Spend the money you got

17    in the -- that you got in the bank account, but nothing more.

18    And I know that that sounds ridiculously basic, but I've been

19    through this business a couple of times before, and I want to

20    make sure everybody understands we don't spend money we don't

21    have.

22                MR. POMERANTZ:    That is correct, Your Honor.          I teach

23    my children that all the time, and my debtor clients as well.

24                THE COURT:    Mr. Elrod, with the understanding we're

25    going to have a much different conversation when I get some



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 33 of 42
                                                                                  33

1     better numbers and things get stabilized, if you want the

2     evidence to be put on because you just need it, I'm happy to

3     require Mr. Pomerantz to do that.        What I really am trying to

4     do is I'm trying to avoid putting my finger on the scale with

5     respect to the ongoing negotiations on cash collateral, DIP,

6     whatever else may be out there.         But I'm looking to you for

7     guidance as to what you need for your client.

8                 MR. ELROD:    I understand, Your Honor.       And given the

9     debtor's limited cash on hand, there is no problem with that.

10    We certainly respect the Court's views on it.

11                One point of clarification that I intended to raise

12    in my initial comments:      There was, in the debtor's cash

13    collateral motion, reference to a hedge termination fee or

14    proceeds.    Those amounts are not being held in suspense, they

15    were applied prepetition to the indebtedness.          I want to be

16    clear that nothing in the order prejudices that issue or

17    otherwise gives the debtor rights to any fees in that regard,

18    or use of cash in that regard.

19                THE COURT:    I think it doesn't move the needle either

20    direction.    Agreed, Mr. Pomerantz?

21                MR. POMERANTZ:    Yes, Your Honor.      And I'm sure the

22    committee that would be appointed reserves its rights with

23    respect to that drawdown if they believe it's actionable.

24                THE COURT:    Absolutely.    Not on the table today,

25    don't have anything before me, we'll -- whenever that becomes



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 34 of 42
                                                                                  34

1     an issue, then we'll learn about the ins and outs.

2                 Mr. Eisenberg, let me ask you:       Did you -- would --

3     did you get comfortable at least for the next seven days?               Ah,

4     and Mr. Eisenberg, you'll need to hit five star for me.

5                 MR. EISENBERG:    Thank you, Your Honor.       Philip

6     Eisenberg on behalf of BFM Operations, also known as Brothers,

7     if that is the confusion.       We appreciate the inclusion of the

8     challenge period and the reservations.         It's one of the points

9     we did raise to Mr. Golden, he was kind enough to call Mr.

10    (indiscernible) and I.       And we have no problem with the

11    variance issues that they have.

12                There was some language that we discussed with Mr.

13    Golden for including in there, and I don't know whether he's on

14    the line right now so that he can discuss what he's included in

15    there.   I -- so we sent him that.       And it had to do with cash

16    receipts, credit card receipts, and carving that out.               And so I

17    was hoping to hear back.

18                THE COURT:    Mr. Golden, did you -- have you had time

19    to consider the language that Mr. Eisenberg sent you?

20                MR. GOLDEN:    Your Honor, Steve Golden, Pachulski

21    Stang Ziehl & Jones for the debtors.         I was pleased to have a

22    nice little blast from the past with Mr. Eisenberg and

23    Mr. Keubel beforehand.       I haven't had the opportunity to

24    socialize the language with my partners or the bank, but the

25    language that we had spoken about, I'm happy to read it and



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 35 of 42
                                                                                  35

1     folks can react in real time.       But I think it should be

2     uncontroversial and consistent with Your Honor's comments.

3                 THE COURT:    So let's do this -- again, because

4     sometimes reading things just creates more ambiguity than it

5     solves.    Why don't we do this:       It sounds like to me again, for

6     the next seven days without any prejudice to anyone, we've got

7     a path forward.     And what I would suggest we do is circulate

8     that final order.     If there remains an outstanding dispute,

9     I'll get everybody back on the line at five o'clock central

10    time.   If the parties have an agreed order with respect for the

11    next seven days, again, with a hearing date March the 27th at

12    12 noon, then just upload that, let Mr. Alonzo know, and I'll

13    take care of it, no need to appear.        Does that work for

14    everybody?

15                MR. EISENBERG:    Philip Eisenberg, Your Honor.         Yes,

16    Your Honor.

17                THE COURT:    All right.    Mr. Pomerantz --

18                MR. ELROD:    It does for the --

19                THE COURT:    Thank you, Mr. Elrod.      I'll get the order

20    right eventually.     And, Mr. Pomerantz, does that work for you

21    as well?

22                MR. POMERANTZ:    Yes, it does, Your Honor.

23                THE COURT:    All right.

24                MR. POMERANTZ:    If I may be briefly heard?

25                THE COURT:    No, of course.     I, again, just so



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 36 of 42
                                                                                  36

1     everybody -- if you want to see that final version of the

2     order, you need to reach out to Mr. Golden and let him know

3     that he wants -- that you want to see that final version before

4     it gets filed.     But I'll look to see an agreed form of order

5     granting, essentially by agreement, the use of cash collateral

6     for the next seven days without prejudice to any issue that

7     needs to be raised -- excuse me -- at a continued order final.

8     And if there is a dispute, then we'll all reconvene at five

9     o'clock central this afternoon.

10                All right.    Mr. Pomerantz, you had other issue you

11    need to raise?

12                MR. POMERANTZ:    Yes, Your Honor.      In the spirit of

13    transparency, and of course with efforts in respect to Your

14    Honor's comments before about DIP negotiations, one other

15    sticking point:     We have steadfastly maintained our position

16    that any DIP financing needs to be sufficient to sustain

17    operations and fund the administration of the case.            Thus far,

18    we have received significant pushback, and the amount of DIP

19    financing being proposed will not even last four weeks, let

20    alone pay any administration of the case.

21                So, Your Honor, if that in fact is the ultimate

22    position of the lenders, and we do not believe that we can

23    sufficiently administer this case and have it paid, we may be

24    back to Your Honor with quite-striking-different relief.             And

25    we understand the bank group is meeting today.          So rather than



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 37 of 42
                                                                                  37

1     wait until Monday -- I know Your Honor had previously agreed, I

2     know Your Honor has a big day tomorrow.         But I would request a

3     status conference at seven o'clock central time just to bring

4     the Court up to speed with the discussions.          If this company

5     cannot last through the week without sufficient DIP financing,

6     and I am extremely loath as of the debtor to agree to any DIP

7     financing that will not be sufficient to sustain operations and

8     administer these Chapter 11 cases.

9                 THE COURT:    So let me just make -- a couple of

10    observations is number one, I question all the time the size of

11    DIPs because I don't think they're big enough.          Again, having

12    been through this business a couple of times on multiple

13    different sides, this is a business that requires adequate

14    capital to fully realize value potential.         I've also never been

15    in a case where I haven't paid the reasonable fees and expenses

16    of counsel because I think that having good counsel at the helm

17    is -- drives value.      And so I -- and that's -- I'm just telling

18    everybody the way I look at it.

19                I don't know what the proposals are.        If you need to

20    be looking at other DIP proposals and we need to have a priming

21    fight, I think priming fights are fun, happy to have them.              But

22    I'm going to look to the professionals to represent their

23    constituency appropriately.       I mean, debtors shouldn't be in

24    agree -- shouldn't be agreeing to anything that it thinks is

25    not in its best interests, same for the lender group.



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 38 of 42
                                                                                  38

1                 So that's all I'm going to say.       If you want a status

2     conference tomorrow morning, more than happy to give you one.

3                 MR. EISENBERG:    Your Honor, I think having that would

4     be helpful to the process.        So --

5                 THE COURT:    MR --

6                 MR. EISENBERG:    So, you know it -- that's at 5 a.m.

7     Pacific time.     As long as Your Honor -- and I know Your Honor

8     has dogs, if my dogs are barking in the background, you'll

9     permit me to take the hearing from home, I'm happy to get up at

10    that time.

11                THE COURT:    Okay.   Mr. Elrod, let me ask you:        Do you

12    think a status conference tomorrow morning would be helpful?

13                MR. ELROD:    Your Honor, I'd -- I'm happy to have a

14    status conference any time the Court pleases.          I don't know

15    that it would necessarily be helpful, given the limited amount

16    of time between now and then, and the Court's grant of the use

17    of cash collateral for the next week.         All I -- we believe that

18    would do is serve to turn up the heat on negotiations that

19    quite frankly are already fairly heated.

20                THE COURT:    Fair enough.

21                MR. ELROD:    So, we would ask for a bit more time --

22                THE COURT:    Sure.

23                Mr. ELROD:    -- to give the parties time to work

24    things out.

25                THE COURT:    What about a status conference --



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 39 of 42
                                                                                  39

1                  UNIDENTIFIED:    Your Honor --

2                  THE COURT:   -- at the end of the day, or lunch time?

3     I mean, I'm looking to you all, and I got it that you're not in

4     the best -- you don't have the best working relationship yet.

5     But I want to give everybody an opportunity to be heard.             So,

6     Mr. Elrod, if you -- if I said I'm going to have a status

7     conference tomorrow, just because I want to understand that

8     we're headed in the right direction, what do you think would be

9     the best time?     Do you think it would be lunch time?         5 in the

10    afternoon?     Or if you think it ought to be Wednesday and that

11    would be productive, I'm happy to hear that argument as to why.

12                 MR. ELROD:   Your Honor, I think in the afternoon

13    tomorrow would be the most appropriate.         That would give the

14    parties time to discuss the terms of any proposed DIP financing

15    facility.

16                 THE COURT:   Mr. Pomerantz, it means that you get to

17    sleep in the morning.      Tell me, what is prejudicial between

18    seven o'clock in the morning, and let's say 4:30 central time?

19                 MR. POMERANTZ:   Nothing, Your Honor.      We think having

20    the status conference will move the process, and we think that

21    is acceptable.

22                 THE COURT:   All right.    Then we'll set a status

23    conference for tomorrow afternoon at 4:30 central time.             And

24    Mr. Elrod, Mr. Pomerantz, I am perfectly happy for an email to

25    get sent to Mr. Alonzo, obviously with copies to the other



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 40 of 42
                                                                                   40

1     professionals that are engaged, saying that you don't need it.

2     Don't feel like you have to have it just because we set it.

3     All right?

4                 MR. ELROD:     Thank you very much, Your Honor.

5                 THE COURT:     All right.

6                 MR. POMERANTZ:     Thanks, Your Honor.

7                 THE COURT:     Anything else I can do to help move the

8     process along?

9                 MR. POMERANTZ:     I think again, I want to thank Your

10    Honor for being so accessible.          It think this is a good first

11    step.   We have a long road to hoe, but I think we all have our

12    work cut out for us, and know what to do, and hopefully can do

13    what restructuring lawyers do best.

14                THE COURT:     All right.    Then I will see everybody

15    tomorrow afternoon if we need to.          Everyone have a good day,

16    and get to work.     Thank you.

17                MR. POMERANTZ:     Thank you, Your Honor.

18                THE COURT:     Thank you.

19                MS. CROCKER:     Your Honor?

20                THE COURT:     Yes, ma'am?     I'm so sorry, who is that?

21    Ah, Ms. Crocker.

22                MS. CROCKER:     That was Michaela Crocker on behalf of

23    Sunoco.

24                THE COURT:     Ms. Crocker, I am so sorry.

25                MS. CROCKER:     I hope too many people -- sorry.         It



         ACCESS TRANSCRIPTS, LLC                     1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 41 of 42
                                                                                   41

1     looks like we still have debtor's counsel on the line.               I just

2     had a couple of points on the order that I'd like to raise now.

3     I would normally raise them with counsel, but it seems like a

4     lot is going on, and orders are being submitted.            But my

5     clients holds various lines of credit, and also we have some

6     setoff recoupment rights, things of that nature, which I'm sure

7     the other gas suppliers also hold.         And we'd just like to see

8     language in this order, or just verification from Counsel that

9     those rights aren't going to be affected with the ongoing

10    negotiations with the lenders.

11                THE COURT:     So, Mr. Wallen, Mr. Golden, could I ask

12    the two of you -- obviously coordinate with your team.               But can

13    I ask the two of you to make sure there is a specific reach out

14    to Ms. Crocker, just so you understand her issues?             And I don't

15    want her, obviously, to be overlooked.         And I certainly didn't

16    mean, Ms. Crocker, to not see you.

17                MR. GOLDEN:     Your Honor --

18                MS. CROCKER:     Thank you, Your Honor.

19                MR. GOLDEN:     Your Honor, this is Steve Golden.

20    Absolutely, Ms. Crocker.       I will reach out to you immediately

21    after this hearing, and we can speak right afterwards.               Thank

22    you.

23                MS. CROCKER:     Thank you.

24                THE COURT:     All right.     Sure thing.   Thank you,

25    everybody.



         ACCESS TRANSCRIPTS, LLC                     1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 155 Filed in TXSB on 03/27/23 Page 42 of 42
                                                                                  42


1                 For folks who are on the line for court, give me just

2     a moment and let me get reset, and we'll get started.               Thank

3     you.

4                 UNIDENTIFIED:    Thank you, Your Honor.

5            (Proceedings concluded at 1:11 p.m.)

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14                          C E R T I F I C A T I O N

15

16                I, Alicia Jarrett, court-approved transcriber, hereby

17    certify that the foregoing is a correct transcript from the

18    official electronic sound recording of the proceedings in the

19    above-entitled matter.

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23    ____________________________

24    ALICIA JARRETT, AAERT NO. 428           DATE: March 24, 2023

25    ACCESS TRANSCRIPTS, LLC




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